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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    OCALA DIVISION

WANDA CANTRELL,

       Plaintiff,                              CASE NO. 5:10-cv-00612

v.

COLLECTION COMPANY OF AMERICA,

      Defendant.
_____________________________________/


                             NOTICE OF VOLUNTARY DISMISSAL

WANDA CANTRELL (Plaintiff), by her attorneys, KROHN & MOSS, LTD., and pursuant to

FRCP 41(a)(1)(i) (Dismissal of Actions - Voluntary Dismissal By Plaintiff Without Court

Order) voluntarily dismisses, without prejudice, COLLECTION COMPANY OF AMERICA

(Defendant), in this case.


                                               RESPECTFULLY SUBMITTED,

                                               By: /s/ James Pacitti_______
                                               James D. Pacitti
                                               FBN: 119768
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                                  VOLUNTARY DISMISSAL
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                                CERTIFICATE OF SERVICE

       I hereby certify that on January 10, 2011 I electronically filed the foregoing Notice of

Settlement with the Clerk of the Court by using the CM/ECF System. A copy of said Notice was

electronically submitted to David J. Kaminski Attorney for Defendant, by the Court’s CM/ECF

system.



                                                            /s/ James Pacitti
                                                            James Pacitti
                                                            Attorney for Plaintiff




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                                  VOLUNTARY DISMISSAL
